Case 1:18¢cr-00315-.]E.] Document 7 Filed 09/20/18 Page 1 of 1

AO 442 (Rev. II/ll) ArrestWarrant

 

UNITED STATES DISTRICT CoURT
for the

Middle District of Pennsylvania

t United States of America

 

 

v. )
Jorge Luis Rosa-Hernandez ) Case NO_ 1118-CR-315
)
)
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer
YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(Hilm€ Ofp€rSOH ¢O be arrested) Jorge Luis Rosa- Hernandez ' ' ,
who s accused of an offense or violation based on the following document filed with the court:
E( In dictment CI Superseding Indictment ij In'formation \'_'l Superseding Information [:l Complaint
El Probation Violation Petition EI Supervised Release Violation Petition El Violation Notice L'_l Order of the Court

This
Fe|

Date:

city

offense is briefly described as follows:

an in possession ofa firearm.

 

09/20/2018 t s/Anita A. Ar|edge
]ssuing ojj'icer 's signature
ind state: Harrisburg, PA Anita A. Ar|edge, deputy clerk

 

 

Printed name and title

 

Return

 

 

at (citj and state)

Date:

This warrant was received on (daze) , and the person was arrested on (date)

 

 

Arresting ojjicer ’s signature

 

Printed name and title

 

 

 

 

 

 

